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14    Attorneys for Plaintiffs

15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18
     IN RE SEAGATE TECHNOLOGY LLC                      No. 3:16-cv-00523-JCS
19   LITIGATION

20                                                     NOTICE OF VOLUNTARY DISMISSAL
     CONSOLIDATED ACTION
21
                                                       Complaint filed: May 9, 2016
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     010581-11 1122785 v1
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 1          Plaintiffs Christopher Nelson, Dennis Crawford, Joshuah Enders, David Schechner,

 2   Chadwick Hauff, James Hagey, Nikolas Manak, and, Dudley Lane Dortch IV (collectively

 3   “Plaintiffs”), through counsel, hereby give notice of their voluntary dismissal with prejudice of this

 4   action as to Seagate Technology, LLC, pursuant to Fed. Civ. P. Rule 41(a)(1)(A)(ii). Each party has

 5   agreed to bear its own costs.

 6

 7   DATED: May 2, 2019                            HAGENS BERMAN SOBOL SHAPIRO LLP

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                                                   DATED: May 2, 2019
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     NOTICE OF VOLUNTARY DISMISSAL –
     Case No.: 3:16-cv-00523-JCS
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         Case 3:16-cv-00523-JCS Document 219 Filed 05/02/19 Page 3 of 4




 1   DATED: May 2, 2019                             SHEPPARD, MULLIN, RICHTER
                                                     & HAMPTON LLP
 2                                                  A Limited Liability Partnership
                                                    Including Professional Corporations
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12   Dated: May 2, 2019                     TA


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     NOTICE OF VOLUNTARY DISMISSAL –
     Case No.: 3:16-cv-00523-JCS
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         Case 3:16-cv-00523-JCS Document 219 Filed 05/02/19 Page 4 of 4




 1                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2             I, Shana E. Scarlett, am the ECF User whose identification and password are being used to
 3   file this Further Joint Case Management Statement. In compliance with Civil Local Rule 5-1(i)(3), I
 4   hereby attest that all signatories have concurred in this filing.

 5

 6                                                                  /s/ Shana E. Scarlett
                                                                  SHANA E. SCARLETT
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     NOTICE OF VOLUNTARY DISMISSAL –
     Case No.: 3:16-cv-00523-JCS
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